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          EXHIBIT A
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                        Electronically Filed by Superior Court of California, County of Orange, 03/30/202311:05:11 AM.
                        iP1316701-CU-BC-CJC - ROA # 2- DAVID H. YAMASAKI, Clerk of the Court By A. Gill, Deputy Clerk.



                    1
                          QUML & ARROW, LLP
                          Kevin Y. Jacobson, Esq. (SBN 320532)
                    2     ki acobsona,auillarrowlaw.com
                          Camran Pakbaz, Esq. (SBN 345343)
                    3     cpakbazaQuillarrowlaw.com
                          e-servicena,auillarrowlaw.com
                    4     10900 Wilshire Boulevard, Suite 300
                    5
                          Los Angeles, CA, 90024
                          Telephone: (310) 933-4271
                    6     Facsinule:     (310) 889-0645

                    7
                          Attorneys for Plaintiff,
                    8     CEBERIANA PASTRANA
                    9

                   10                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

                   11                                         COUNTY OF ORANGE
                                                                                           Assigned:for All Purposes
                   12                                                                     Judge ~i~al"te"r ~ch~i~rarm

                                                                         Case No.:
                                                                                    3'Q`2a2:3:=4.i31670::1-CI~=B~-CJC
                                                                                                           . ,:. ... .
                   13      CEBERIANA PASTRANA, an individual,
               ~                                                         Unlimited Jurisdiction
                   14                     Plaintiff,                       COMPLAINT
         ,     x 15
     ,                             vs.                                       1. VIOLATION OF SONG-BEVERLY
                   16                                                           ACT - BREACH OF EXPRESS
                           NISSAN NORTH AMERICA, INC., a                         WARRANTY
                   17      Delaware Corporation, and DOES 1                  2. VIOLATION OF SONG-BEVERLY
i~                         through 10, inclusive,                               ACT - BREACH OF IMPLIED
                   18                                                            WARRANTY
                   19                                                        3. VIOLATION OF THE SONG-
                                          Defendants.                           BEVERLY ACT SECTION 1793.2
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                                                                    COMPLAINT
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                1           Plaintiff, CEBERIANA PASTRANA, an individual ("Plaintiff'), alleges as follows against
                2   Defendant, NISSAN NORTH AMERICA, INC., a Delaware Corporation ("NISSAN NORTH
                3   AMERICA, INC."), and DOES 1 through 10 inclusive, on information and belief, formed after a
                4   reasonable inquiry under the circumstances:
                5                                   DEIVIAND FOR JURY TRIAL
                6           1.      Plaintiff, CEBERIANA PASTRANA, hereby demands trial by jury in this action.
                7                                   GENERAL ALLEGATIONS
                8           2.      Plaintiff, CEBERIANA PASTRANA, is an individual residing in the City of El
                9   Monte, State of California.
               10           3.      Defendant, NISSAN NORTH AMERICA, INC., is and was a Delaware Corporation
               11   operating and doing business in the State of California.
         ~ 12               4.      These causes of causes of action arise out of warranty and repair obligations of
         .:
         ~= 13      NISSAN NORTH AMERICA, INC. in connection with a vehicle Plaintiff purchased and for which
              14    NISSAN NORTH AMERICA, INC. issued a written warranty. The warranty was not issued by the
         Z
             ~ 15   selling dealership.

.-            16            5.     Plaintiff does not know the true names and capacities, whether corporate,
~             17    partnership, associate, individual, or otherwise of Defendant issued herein as Does 1 through 10,
              18    inclusive, under the provisions of section 474 of the California Code of Civil Procedure. Defendant
              19    Does 1 through 10, inclusive, are in some manner responsible for the acts, occurrences, and
              20    transactions set forth herein, and are legally liable to Plaintiff. Plaintiff will seek leave to amend I
              21    this Complaint to set forth the true names and capacities of the fictitiously named Defendant,
              22    together with appropriate charging allegations, when ascertained.
              23            6.     All acts of corporate employees as alleged were authorized or ratified by an officer,
              24    director, or managing agent of the corporate employer.
              25            7.     Each Defendant, whether actually or fictitiously named herein, was the principal,
              26    agent (actual or ostensible), or employee of each other Defendant, and in acting as such principal I
              27    or within the course and scope of such employment or agency, took some part in the acts and I
              28    omissions hereinafter set forth by reason of which each Defendant is liable to Plaintiff for the relief
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                                                              COMPLAINT
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                       1   prayed for herein.
                       2           8.      On March 27, 2022, Plaintiff purchased a 2021 Nissan Altima, having VIN No.:
                       3   1N4BL4CV8MN401499 ("the Subject Vehicle"). These causes of action arise out of warranty and
                       4   repair obligations of NISSAN NORTH AMERICA, INC. in connection with a vehicle that Plaintiff
                       5   purchased and for which NISSAN NORTH AMERICA, INC. issued a written warranty. The
                       6   warranty was not issued by the selling dealership.
                       7           9.     NISSAN NORTH AMERICA, INC. warranted the Subject Vehicle and agreed to
                       8   preserve or maintain the utility or performance of Plaintiff's vehicle or to provide compensation if
                       9   there was a failure in such utility or performance. In connection with the purchase, Plaintiff received
                      10   various warranties, inter alia, a 3-year/36,000 mile express bumper to bumper warranty, a 5-
                      11   year/60,000 mile powertrain warranty which, inter alia, covers the engine and the transmission, as
                  ; 12.    well as various emissions warranties that exceed the time and mileage limitations of the bumper to
          ~   j       13   bumper and powerkrain warranties.
              0   c

                      14          10.     The Subject Vehicle was delivered to Plaintiff with serious defects and
                      15   nonconformities to warranty and developed other serious defects and nonconformities to warranty
    rz,               16   including, but not limited to, suspension, steering, and transmission system defects.
~                     17          11.     Plaintiff hereby revokes acceptance of the sales contract.
                      18          12.     Pursuant to the Song-Beverly Consumer Warranty Act (hereinafter the "Act") Civil
                      19   Code sections 1790 et seq. the Subject Vehicle constitutes "consumer goods" used primarily for
                      20   family or household purposes, and Plaintiff has used the vehicle primarily for those purposes.
                      21          13.     Plaintiff is a"buyer" of consumer goods under the Act.
                      22          14.     Defendant, NISSAN NORTH AMERICA, INC., is a"manufacturer" and/or
                      23   "distributor" under the Act.
                      24          15.     Plaintiff hereby demands trial by jury in this action.
                      25                                     FIRST CAUSE OF ACTION
                      26                 Violation of the Song-Beverly Act — Breach of Ezpress Warranty
                      27          16.     Plaintiff incorporates herein by reference each and every allegation contained in the
                      28   preceding and succeeding paragraphs as though herein fully restated and re-alleged.
                                                                        -3-
                                                                   COMPLAINT
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             1          17.     The Subject Vehicle was sold to Plaintiff with express warranties that the Subject
             2   Vehicle would be free from defects in materials, nonconformity, or workmanship during the
             3   applicable warranty period and to the extent that the Subject Vehicle had defects, Defendant
             4   NISSAN NORTH AMERICA, INC. would repair the defects.
             5          18.     The Subject Vehicle was delivered to Plaintiff with serious defects and
             6   nonconfornuties to warranty and developed other serious defects and nonconformities to warranty
             7   including, but not limited to, suspension, steering, and transmission system defects.
             8          19.     Pursuant to the Song-Beverly Consumer Warranty Act (hereinafter the "Act") Civil
             a   Code sections 1790 et seq. the vehicle constitutes "consumer goods" used primarily for family or
            10   household purposes, and Plaintiff has used the Subject Vehicle primarily for those purposes.
            11          20.     Plaintiff is the "buyer" of consumer goods under the Act.
        ~! 12           21.     Defendant, NISSAN NORTH AMERICA, INC., is a"manufacturer" and/or
    k   ~ ; 13   "distributor" under the Act.
            14          22.     The foregoing defects and nonconformities to warranty manifested themselves in
            15   the Subject Vehicle within the applicable express warranty period. The nonconformities
~       J

            16   substantially impair the use, value, and/or safety of the vehicle.
            17          23.     Plaintiff delivered the vehicle to an authorized NISSAN NORTH AMERICA, INC.
            18   repair facility for repair of the nonconformities.
            19          24.     Defendant was unable to conform Plaintiff's vehicle to the applicable express
            20   warranty after a reasonable number of repair attempts.
            21          25.     Notwithstanding PlaintifPs entitlement, Defendant NISSAN NORTH AMERICA,
            22   INC. has failed to either promptly replace the new motor vehicle or to promptly make restitution in
            23   accordance with the Song-Beverly Act.
            24          26.     By failure of Defendant to remedy the defects as alleged above or to issue a refund
            25   or replacement vehicle, Defendant is in breach of its obligations under the Song-Beverly Act.
            26          27.     Under the Act, Plaintiff is entitled to reimbursement of the price paid for the vehicle
            27   less that amount directly attributable to use by the Plaintiff prior to the first presentation of the
            28   nonconformities.
                                                            COMPLAINT
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         1          28.     Plaintiff is entitled to all incidental, consequential, and general damages resulting
         2   from Defendant's failure to comply with its obligations under the Song-Beverly Act.
         3          29.     Plaintiff is entitled under the Song-Beverly Act to recover as part of the judgment a
         4   sum equal to the aggregate amount of costs and expenses, including attorney's fees, reasonably
         5   incurred in connection with the commencement and prosecution of this action.
         6          30.     Because Defendant willfully violated the Song-Beverly Act, Plaintiff is entitled, in
         7   addition to the amounts recovered, a civil penalty of up to two times the amount of actual damages
         8   for NISSAN NORTH AMERICA, INC.'s willful failure to comply with its responsibilities under
         9   the Act.
        10                                   SECOND CAUSE OF ACTION
        11                 Violation of the Song-Beverly Act — Breach of Implied Warranty
      i 12          31.     Plaintiff incorporates herein by reference each and every allegation contained in the
     :-
        13   preceding and succeeding paragraphs as though herein fully restated and re-alleged.
        14          32.     NISSAN NORTH AMERICA, INC. and its authorized dealership at which Plaintiff
        15   purchased the subject vehicle had reason to know the purpose of the Subject Vehicle at the time of

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        16   sale of the subject vehicle. The Subject Vehicle was accompanied by implied warranties provided
~       17   for under the law.
        18          33.     Among other warranties, the Subject Vehicle was accompanied by an implied
        19   warranty that the Subject vehicle was merchantable pursuant to Civil Code section 1792.
        20          34.     Pursuant to Civil Code section 1791.1 (a), the implied warranty of inerchantability
        21   means and includes that the Vehicle will comply with each of the following requirements: (1) The
        22   Vehicle will pass without objection in the trade under the contract description; (2) The Vehicle is
        23   fit for the ordinary purposes for which such goods are used; (3) The Vehicle is adequately
        24   contained, packaged, and labelled; (4) The Vehicle will conform to the promises or affirmations of
        25   fact made on the container or label.
        26          35.     The Subject Vehicle was not fit for the ordinary purpose for which such goods are
        27   used because it was equipped with one or more defective vehicle systems/components.
        28          36.     The Subject Vehicle did not measure up to the promises or facts stated on the
                                                         -5-
                                                    COMPLAINT
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             1   container or label because it was equipped with one or more defective vehicle systems/components.
             2           37.     The Subject Vehicle was not of the same quality as those generally accepted in the
             3   trade because it was sold with one or more defective vehicle systems/components which manifested
             4   as suspension, steering, and transmission system defects.
             5           38.     Upon information and belief, the defective vehicle systems and components were
             6   present at the time of sale of the Subject Vehicle; thus, extending the duration of any implied
             7   warranty under Mexia v. Rinker Boat Co., Inc. (2009) 174 Ca1.App.4th 1297, 1304-1305 and other
             8   applicable laws.
             9           39.     Plaintiff is entitled to justifiiably revoke acceptance of the subject vehicle under Civil
            10   Code, section 1794, et seq.
            11           40.     Plaintiff hereby revokes acceptance of the Subject Vehicle.
      ~
      j 12               41.     Plaintiff is entitled to replacement or reimbursement pursuant to Civil Code, section
      ~~ 13      1794, et seq.
      e r

      =} 14              42.     Plaintiffis entitled to rescission of the contract pursuant to Civil Code, section 1794,
            15   et seq. and Commercial Code, section 2711.
            16           43.     Plaintiff is entitled to recover any incidental, consequential, and/or "cover" damages
r`t         17   under Commercial Code, sections 2711, 2712, and Civil Code, section 1794, et seq.
            18                                      THIRD CAUSE OF ACTION
            19                          Violation of the Song-Beverly Act Section 1793.2(b)
            20           44.     Plaintiff incorporates herein by reference each and every allegation contained in the
            21   preceding and succeeding paragraphs as though herein fully restated and re-alleged.
            22           45.     Pursuant to Civil Code, section 1793.2, subdivision (a) a manufacturer that sells
            23   consumer goods in California, for which it has made an express warranty, shall maintain service
            24   and repair facilities or designate and authorize independent service and repair facilities to carry out
            25   the terms of those warranties.
            26          46.      Pursuant to Civil Code, section 1793.2, subdivision (b), when service and repair of
            27   goods are necessary because they do not conform with the applicable express warranties, service
            28   and repair shall be commenced within a reasonable time by the manufactarer or its representative.
                                                              -6-
                                                         COMPLAINT
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                 1             47.    Civil Code, section 1793.2, subdivision (b) further states that goods shall be serviced
                 2    or repaired so as to conform to the applicable warranties within 30 days and/or within a reasonable
                 3   I time.
                 4             48.    The sale of the Subject Vehicle was accompanied by express warranties, including
                 5    a warranty guaranteeing that the subject vehicle was safe to drive and not equipped with defective
                 6    parts, including the electrical system.
                 7             49.    Plaintiff delivered the subject vehicle to NISSAN NORTH AMERICA, INC.'s
                 8    authorized service representatives on multiple occasions. The subject vehicle was delivered for
                 9    repairs of defects, which amount to nonconformities to the express warranties that accompanied
                10    the sale of the subject vehicle.
                11             50.    Defendant's authorized facilities did not conform the Subject Vehicle to warranty
        =       12    within 30-days and/or commence repairs within a reasonable time, and NISSAN NORTH
        j~ 13         AMERICA, INC. has failed to tender the subject vehicle back to Plaintiff in conformance with its
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                14    warranties within the timeframes set forth in Civil Code section 1793.2(b).
            x
                15             51.    Plaintiff is entitled to justifiably revoke acceptance of the subject vehicle under Civil
                16    Code, section 1794, et seq.
    ,
~               17             52.    Plaintiff hereby revokes acceptance of the subject vehicle.
                18             53.    Plaintiff is entitled to replacement or reimbursement pursuant to Civil Code, section
                19 II 1794, et seq.

                20             54.    Plaintiff is entitled to rescission of the contract pursuant to Civil Code section 1794,
                21    et seq. and Commercial Code, section 2711.
                22             55.    Plaintiff is entitled to recover any "cover" damages under Commercial Code
                23    sections 2711, 2712, and Civil Code, section 1794, et seq.
                24             56.    Plaintiff is entitled to recover all incidental and consequential damages pursuant to
                25    1794 et seq and Commercial Code sections, 2711, 2712, and 2713 et seq.
                26             57.    Plaintiff is entitled in addition to the amounts recovered, a civil penalty of up to two
                27    times the amount of actual damages in that NISSAN NORTH AMERICA, INC. has willfully failed
                28    to comply with its responsibilities under the Act.
                                                                        -7-
                                                                 COMPLAINT
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               1                                      PRAYER FOR RELIEF
               2      WHEREFORE, Plaintiff prays for judgment against Defendant, as follows:
               3      1. For general, special, and actual damages according to proof at trial;
               4      2. For rescission of the purchase contract and restitution of all monies expended;
               5      3. For diminution in value;
               6      4. For incidental and consequential damages according to proof at trial;
               7      5. For civil penalty in the amount of two times Plaintiff's actual damages;
               8      6. For prejudgment interest at the legal rate;
               9      7. For reasonable attorney's fees and costs of suit; and
              10      For such other and further relief as the Court deems just and proper under the circumstances.
              11
         y=        Dated: March 30, 2023
              12                                        QUILL & ARROW, LLP
    R;   J" 13

              14
                                                         Kevin Y..    b , Esq.
    ~    ✓ ~. 15                                         Camran      az, Esq.
                                                         Attorneys or Plaintiff,
              16                                         CEBERIANA PASTRANA
'             17         Plaintiff, CEBERIANA PASTRANA, hereby demands trial by jury in this action.
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                                                            COMPLAINT
